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17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    respectfully moves the Court to seal portions of the privilege log entries submitted as an exhibit to

3    Apple’s Objections to Special Master Rulings on Apple’s Productions of Re-Reviewed Privileged

4    Documents (“Objections”), which was filed under section 4 of the Joint Stipulation and Order Approving

5    Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”). The exhibit contains information sealable

6    under controlling law and Local Rule 79-5. Specifically, the exhibit contains excerpts from Apple’s

7    privilege log prepared for the Special Masters conducting evaluation of the privilege claims stemming

8    from Apple’s re-review. The privilege log is required to be filed under the terms of the Protocol, but

9    contains competitively sensitive, non-public information regarding Apple’s project codenames and the

10   engagement of outside legal counsel in connection with foreign regulatory issues in the European Union.

11   It also contains personally identifiable information in the form of email addresses of Apple employees.

12   Apple’s proposed redactions of that information are highlighted in yellow in the un-redacted version of

13   the exhibit that Apple is filing under seal and are itemized in the concurrently filed Declaration of Mark

14   A. Perry (the “Perry Declaration”).

15                                                LEGAL STANDARD
16          “The court may, for good cause, issue an order to protect a party or person from annoyance,

17   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

18   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

19   for many types of information, including, but not limited to, trade secrets or other confidential research,

20   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir.

21   2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1178

22   (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing Nixon

23   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216, at *1

24   (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

25   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

26   (granting request to seal “internal product codenames” and noting that a prior request for the same had

27   also been granted). Courts often find good cause exists to seal personally identifiable information. See,

28   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion


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1    to file under seal personally identifiable information, including email addresses and telephone numbers

2    of current and former employees).

3           Although a party must show compelling circumstances to seal information appended to

4    dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

5    Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

6    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

7    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

8    should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

9    Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

10   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

11   seal “because the request is narrowly tailored and only includes confidential information”).

12                                                    DISCUSSION
13          Apple seeks to seal personally identifiable information in the privilege log submitted as an exhibit

14   to Apple’s Objections, as well as the sensitive business information regarding project codenames and

15   Apple’s engagement of certain outside counsel. See Perry Decl. ¶ 5.

16          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

17   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

18   has less of a need for access to court records attached only to non-dispositive motions because those

19   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

20   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

21   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re

22   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

23   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

24          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL 3049450,

25   at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s limited

26   proposed redactions protect against the harmful disclosure of Apple’s internal business decision-making,

27   including non-public legal strategy in connection with foreign regulations and non-public project

28   codenames. See DNA Genotek Inc., 2023 WL 4335734, at *2 (finding good cause where disclosure


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1    would “undercut” a party’s “position … in the marketplace”); Apple Inc., 2024 WL 1204115, at *1.

2    Apple operates in an intensely competitive environment, and thus has taken extensive measures to

3    protect the confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information

4    relating to the confidential engagement of outside counsel and confidential project codenames could

5    harm Apple’s business interests. Id. ¶ 3. Furthermore, courts in this district have found not only good

6    cause, but compelling reasons exist to seal personally identifiable information. See Snapkeys, 2021 WL

7    1951250, at *3 (granting motion to file under seal personally identifiable information, including email

8    addresses and telephone numbers of current and former employees); see also UnifySCC v. Cody, 2023

9    WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons to seal personally identifying

10   information of employees, including names, addresses, phone numbers, and email addresses). Here,

11   certain entries in the privilege log reveal both Apple’s choice and strategy in engaging outside legal

12   counsel and project codenames. Additionally, certain entries reveal various personally identifiable

13   information. Good cause exists to protect both types of information.

14          Moreover, Apple has narrowly tailored its sealing request to include only the information

15   necessary to protect its confidential business information and personally identifiable information. See

16   Perry Decl. ¶ 6; Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020)

17   (granting motion to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple

18   Inc., 2021 WL 2476916, at *2–*3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests

19   with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an

20   exhibit when redactions were “narrowly tailored” to “sensitive and confidential information”). Apple

21   has only partially redacted limited information within the privilege log entries. See Perry Decl. ¶ 6.

22          For the foregoing reasons, there is good cause that warrants partially sealing the exhibit to

23   Apple’s Objections.

24                                                   CONCLUSION
25          Apple respectfully requests that the Court seal the information identified in the accompanying

26   declaration.

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1    Dated: January 27, 2025                       Respectfully submitted,

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